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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         VICTORIA DIVISION

 IN RE:                                               §
                                                      §           CASE NO. 16-60040 (DRJ)
 LINN ENERGY, LLC, et al.                             §
                                                      §                  CHAPTER 11
          Debtors.                                    §
                                                      §
 DIANE G. REED, CHAPTER 7 TRUSTEE                     §
 FOR THE BANKRUPTCY ESTATE OF                         §
 RINCON ISLAND LIMITED LIMITED                        §
 PARTNERSHIP,                                         §
                                                      §
                                                      §
 V.                                                   §              ADV. NO. 18-06009
                                                      §
 BERRY PETROLEUM COMPANY, LLC,                        §
 CALIFORNIA STATE LANDS                               §
 COMMISSION, SOCORRO CAPITAL,                         §
 LLC, TORCH OPERATING COMPANY,                        §
 TORCH ENERGY FINANCE FUND                            §
 LIMITED PARTNERSHIP-I, AND                           §
 TORCH ENERGY FINANCE COMPANY.                        §

      TORCH ENERGY FINANCE FUND LIMITED PARTNERSHIP I’S RESPONSE
       IN OPPOSITION TO DIANE G. REED, CHAPTER 7 TRUSTEE’S MOTION
                  FOR SUMMARY AND DEFAULT JUDGMENT

          COMES NOW, Torch Energy Finance Fund Limited Partnership-I and files its Response

in Opposition to Diane G. Reed, Chapter 7 Trustee’s Motion for Summary and Default Judgment

(“Trustee’s Motion”).

          1.         The subject of this Adversary is an Escrow Agreement, as amended, which are

attached as Exhibits D and E to the Trustee’s Motion.

          2.         Paragraph 3.1 of the Escrow Agreement reads, in pertinent part as follows:

                     3.1    Duration of Escrow. Escrow Agent, unless otherwise instructed by
                     joint written instructions from Torch and TOC, shall deliver the Escrow
                     Funds in accordance with section 3.2 below and hold any remaining Escrow
                     Funds until the date (“Termination Date”) upon which Escrow Agent
                     receives written notice from Torch and TOC that the Work has been

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                     completed in accordance with the Purchase Contract, the Partnership
                     Agreement, the Operating Agreement and all applicable laws and that
                     neither Buyer, Torch nor TOC has any accrued or contingent liability for
                     any Costs.

The purported release contained in the proposed stipulation is insufficient to satisfy the above.

          3.         Torch demands that any release be as set forth below:

                     B.       Releases.

                     1.      Release. SLC, for itself and on behalf of any respective agents,
                     related entities, commissioners, representatives, staff, administrators,
                     beneficiaries, trustees, directors, officers, managers, members, employees,
                     advisors, successors, predecessors, insurers, and assigns (if any), and any
                     and all persons or entities acting by, through, under or in concert with any
                     of them, past, present and future each hereby fully and forever irrevocably
                     and unconditionally release, acquit, discharge and covenant not to sue Torch
                     Operating Company, Torch Energy Finance Company, Torch Finance Fund
                     Limited Partnership (collectively “Torch”), and each of Torch and its
                     parent, subsidiaries, affiliated entities, divisions, predecessors, successors
                     and assigns, and all of their respective past, present and future agents,
                     servants, representatives, employees, officers, directors, shareholders,
                     members, managers, attorneys, insurers, executors, heirs, beneficiaries,
                     administrators, and any and all persons acting by, through, under or in
                     concert with any of them and each of them (collectively, the “Torch
                     Released Parties”), from any and all claims, rights, liabilities, fines,
                     penalties, obligations, demands, debts, costs, actions, causes of actions,
                     suits, damages, expenses, rents, royalties, attorney fees, and compensation
                     of every kind and nature whatsoever, whether arising in contract or tort,
                     including without limitation any relating to fraud, including without
                     limitation fraud in the inducement, that any of them ever had, or now have,
                     whether known or unknown, whether asserted or unasserted, contingent or
                     absolute, anticipated or unanticipated that SLC has had, now has, or may in
                     the future have against the Torch Released Parties relating to that certain
                     Amendment to State Oil and Gas Leases PRC 145.1, PRC 410.1, PRC 429.1
                     and PRC 1466.1 and Right of Way Leases PRC 1961.1 and PRC 5968 Berry
                     Rincon Field effective November 1, 1995 as such leases may have been
                     amended.

                     2.      Specific Waiver of Unknown Claims. In furtherance of the releases
                     set forth above, SLC acknowledges and waives the benefits of California
                     Civil Code Section 1542 (and all similar ordinances and statutory,
                     regulatory, or judicially created laws or rules of any other jurisdiction),
                     which provides:




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                     A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH
                     THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS
                     OR HER FQAVOR AT THE TIME OF EXECUTING THE RELEASE,
                     WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY
                     AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.

          4.         Until Torch is released of “any accrued or contingent liability for any costs,” Torch

opposes Trustee’s Motion.

          WHEREFORE, premises considered, Torch prays that the Court deny the Trustee’s Motion

and grant Torch such further relief as is just.

                                                   HIRSCH & WESTHEIMER, P.C.

                                                   By: /s/ Michael J. Durrschmidt
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                                                   ATTORNEYS FOR TORCH ENERGY
                                                   FINANCE FUND LIMITED PARTNERSHIP-I



                                      CERTIFICATE OF SERVICE

       I hereby certify that on the 9th day of October, 2019, a copy of the foregoing Notice of
Appearance of Counsel was served via first class mail, postage prepaid, and/or via the Clerk of the
Court through the ECF system.


                                                       /s/ Michael J. Durrschmidt
                                                       Michael J. Durrschmidt




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